           Case 23-90757 Document 266 Filed in TXSB on 11/28/23 Page 1 of 1
                                                                                                     United States Bankruptcy Court
                                                                                                         Southern District of Texas

                                                                                                            ENTERED
                                                                                                        November 28, 2023
                                  UNITED STATES BANKRUPTCY COURT                                         Nathan Ochsner, Clerk
                                    SOUTHERN DISTRICT OF TEXAS
                                          HOUSTON DIVISION
                                                                §
In re:                                                          §   Chapter 11
                                                                §
STRUDEL HOLDINGS LLC and                                        §   Case No. 23-90757 (CML)
AVR AH LLC,                                                     §
                                                                §   (Jointly Administered)
                     Debtors.3                                  §
                                                                §


                    ORDER SETTING EMERGENCY STATUS CONFERENCE
                              [Related to Docket Nos. 245, 260]

                 A Status Conference has been set for November 30th, 2023 at 4:00 p.m.

          For participants not attending in person, audio communication will be by use of the Court’s

dial-in facility. You may access the facility at 832-917-1510. Once connected, you will be asked

to enter the conference room number. Judge Lopez’s conference room number is 590153. Video

communication will be by use of the GoTo platform. Connect via the free GoTo application or

click the link on Judge Lopez’s home page. The meeting code is “JudgeLopez.” Click the settings

icon in the upper right corner and enter your name under the personal information setting.

          Hearing appearances must be made electronically in advance of both electronic and in-

person hearings. To make your appearance, click the “Electronic Appearance” link on Judge

Lopez’s home page. Select the case name, complete the required fields and click “Submit” to

complete your appearance.

Dated: November _____, 2023
       Houston, Texas
           August 02,
          November  28,2019
                        2023                            ________________________________
                                                        Christopher M. Lopez
                                                        United States Bankruptcy Judge

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    The Debtors in these cases, along with the last four digits of each Debtor’s federal tax identification number, are:
    AVR AH LLC (0148) and Strudel Holdings LLC (5426). The Debtors’ service address is: PO Box 4068, Aspen,
    CO 81612.

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